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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

RUSS MCCULLOUGH, RYAN SAKODA,                  :
and MATTHEW ROBERT WIESE,                      :
individually and on behalf of all others       :
similarly situated,                            :
                                               :
        Plaintiffs,                            :   CIVIL ACTION NO.
                                               :   3:15-cv-001074 (VLB)
v.                                             :   Lead Case
                                               :
WORLD WRESTLING                                :
ENTERTAINMENT, INC.,                           :
                                               :
        Defendant.                             :
                                               :
EVAN SINGLETON and VITO
                                               :
LOGRASSO,
                                               :
                                               :   CIVIL ACTION NO.
        Plaintiffs,
                                               :   3:15-CV-00425 (VLB)
                                               :   Consolidated Case
v.
                                               :
                                               :
WORLD WRESTLING
                                               :   ORAL ARGUMENT REQUESTED
ENTERTAINMENT, INC.,
                                               :
                                               :
        Defendant.
                                               :

PLAINTIFFS SINGLETON AND LOGRASSO’S REPLY TO WWE’S RESPONSE TO
PLAINTIFFS’ OBJECTION TO MAGISTRATE JUDGE RICHARDSON’S FEBRUARY
              22, 2018 RECOMMENDED RULING, DKT. NO. 371

      In light of this Court’s March 31, 2018 Ruling granting WWE’s Motion for

Summary Judgment, Dkt. No. 374, Plaintiffs assert that these sanctions over

discovery should be denied as any additional discovery at this stage in this matter

is now moot.    Therefore, Plaintiffs’ respectfully submit this Reply to WWE’s

Response to Plaintiffs’ Objection to Magistrate Judge Richardson’s February 22,

2018 Ruling Regarding Their Interrogatory Responses, Dkt. No. 371.



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    A. Plaintiffs Complied with the Court’s Compulsion Order.

       Nowhere did Plaintiffs admit their non-compliance with the Court’s

Compulsion Order. In fact, Plaintiffs specifically stated the opposite: “Plaintiffs

believed they had complied with Judge Bryant’s Order (Dkt. No. 144) when they did

supplement their interrogatory responses.” Opposition, p. 2. Plaintiffs sought to

demonstrate their compliance within the bounds of the Rules, while also

demonstrating the validity of their claims. See Opp., § III.B (describing, for example,

the symptoms Plaintiffs suffered from that WWE witnessed during Plaintiffs’

careers).1

       Unlike WWE, Plaintiffs’ arguments did not rely on facts outside the scope of

this Rule 37 issue. Plaintiffs are not going to address the personal attacks against

Attorney Kyros and his firm that have become central to WWE’s defense. These

overzealous disparagements bear no weight in this proceeding. Daval Steel Prods.,

a Div. of Francosteel Corp. v. M/V Fakredine, 951 F.2d 1357, 1366 (holding “that the

sanctions must be just; and the sanction must relate to the particular claim to

which the discovery order was addressed”).




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  WWE’s skewing of Plaintiffs’ allegations continues. It falsely asserts that “Kyros has avoided
admitting that LoGrasso never actually reported any symptoms of traumatic brain injury to
physicians before taking up Kyros’ internet solicitations to join a lawsuit.” Response, p. 13. Mr.
LoGrasso’s claim is based on the lack of knowledge he had until recently on the symptoms that he
suffered from. WWE knew he would leave a performance feeling loopy, or would have headaches,
and would need B-12 shots because he was lethargic. These are some of the symptoms that
demonstrated WWE’s awareness of his brain trauma; symptoms that Mr. LoGrasso did not connect
to his worsening symptoms of sleep apnea, inability to sleep soundly, emotional instability, and
severe migraines after he retired. As WWE continued to learn more information about the severity
of brain trauma received during its performances through the years, it admittedly has refused to
take any action to help its former performers understand that connection.

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   B. WWE’s Sought-After Request Has Been Granted.

      Given the Ruling granting WWE’s Motion for Summary Judgment, Dkt. No.

374, and considering WWE argued that any supplemental discovery “would have

no consequence to the pending dispositive motion”, (Response, p.4, n.1) any

granted sanctions now would not serve its intended purpose of facilitating ongoing

discovery proceedings.

      Therefore, Plaintiffs respectfully request the Court deny the Recommended

Ruling, Dkt. No. 371, for the reasons set forth in Plaintiffs’ Opposition, Dkt. No. 372,

and because discovery at this stage in this matter is now moot.

Dated: April 2, 2018.

                                        Respectfully Submitted,

                                        /s/ Konstantine Kyros
                                        Konstantine W. Kyros
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                           CERTIFICATE OF SERVICE

     I hereby certify that on this 2nd day of April, 2018, a copy of the foregoing
was served via this Court’s electronic case filing system.

                                     /s/ Konstantine Kyros
                                     Konstantine Kyros




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